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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


     UNITED STATES OF AMERICA              HON. JEROME B. SIMANDLE

          v.                             Criminal No. 14-699-1 (JBS)

     TOYE TUTIS,                                    OPINION

               Defendant.


APPEARANCES:

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United States Attorney
     By: DIANA VONDRA CARRIG,
          Assistant United States Attorney
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SIMANDLE, District Judge:

I.     INTRODUCTION

       On November 1, 2016, after the jury had been selected and

as the trial was about to begin, following extensive plea

negotiations between counsel over a period of one week,

Defendant Toye Tutis entered a plea of guilty to Count 1 (drug-

trafficking conspiracy) and Count 13 (money laundering

conspiracy) of the Second Superseding Indictment.          The only co-
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defendant then remaining was his wife, Jazmin Vega, who also

entered her plea of guilty to Count 13 of the Second Superseding

Indictment (money laundering conspiracy).

     Thereafter, Defendant Tutis, through new counsel,1 filed the

present motion to withdraw his plea of guilty pursuant to Rule




1 Defendant Tutis was originally represented by retained counsel,
Dennis J. Cogan, Esq. and Christopher D. Warren, Esq. On June 29,
2016, the Court had a hearing upon Defendant Tutis’ request to
substitute J. Michael Farrell, III, as his new retained attorney,
notwithstanding the fact that Farrell was under indictment for
unrelated charges in the U.S. District Court for the District of
Maryland.    Defendant Tutis testified that he was aware of
Farrell’s charges and of the potential conflict it created by
Farrell representing Tutis while being himself under indictment
(albeit represented by counsel in Maryland), and the Court granted
Tutis’ request honoring his choice of counsel, being satisfied
that his waiver of conflict-free counsel was knowing and voluntary.
[Docket Item 299.] About four months after Farrell entered the
case, Tutis entered his plea of guilty on November 1, 2016. Two
months after Tutis entered his guilty plea, Farrell’s case went to
trial in January 2017, and a jury found him guilty of multiple
counts, including money laundering, money laundering conspiracy,
tampering with official proceedings, and witness tampering. (Tr.
6/23/17 at 149.)    Farrell awaited his sentencing scheduled for
July 17, 2017, and he expected to go to prison. (Id. at 149-50.)
When Farrell’s case was going to trial, new counsel Stanley O.
King, Esq. was appointed pursuant to the Criminal Justice Act on
January 3, 2017 as temporary standby counsel [Docket Item 428],
and on February 14, 2017 as plenary counsel [Docket Item 435],
when, at a hearing, the Court also disqualified Farrell due to his
felony convictions.    The appointment of Mr. King followed this
Court’s determination that Tutis was no longer able to afford
private counsel due to his agreement in his guilty plea to forfeit
his interest in very substantial assets, pursuant to which a
Consent Judgment and Preliminary Order of Forfeiture as to Tutis
has been entered on January 6, 2017. [Docket Item 423.] Farrell
confirmed at the February 14, 2017 hearing, however, that his fees
had been paid by Tutis and nothing further was due. Mr. King has
very ably represented Tutis in the present matter.
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11(d)(1)(B), Fed. R. Crim. P. [Docket Item 443].          Co-defendant

Jazmin Vega does not seek to withdraw her guilty plea.

Defendant Tutis moves to withdraw his plea of guilty on the

ground that “Mr. Tutis’ Guilty Plea was not voluntary and the

Court was not advised that the plea was part of a ‘Package

Deal’” requiring Tutis to plead guilty or Vega would not be

permitted to plead guilty.      [Docket Item 443-1 at 4.]       Tutis

alleges that, because Tutis’ and Vega’s pleas were allegedly a

“package deal,” the Rule 11 hearing violated the rule of United

States v. Hodge, 412 F.3d 479, 450 (3d Cir. 2005), requiring

“full disclosure to the district court of the material terms of

the plea agreements” so that the court can conduct a “colloquy

[that] is thorough and searching as to the defendant’s knowing,

intelligent, and voluntary waiver of the right, among others, to

a jury trial.”    Id.   Tutis argues that the court failed to ask

him the special questions related to his decision to accept the

alleged package deal, as required by Hodge, 412 F.3d at 491-92.

The defense brief asserts that Tutis was “advised by attorney

[Farrell] that he should accept the plea and appeal this

acceptance post sentencing,” and he now alleges he “did not

understand the heightened standard of withdrawing a guilty plea

post sentencing.”     [Def. Br., Docket Item 443-1 at 5.]




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     Contrary to Tutis’ assertions, the Government has argued

that the Tutis and Vega pleas were not a “package deal” by the

time the plea agreements were executed and the Rule 11 hearings

for both defendants were held on November 1, 2016.          The

Government acknowledged that previous written versions of the

Tutis and Vega agreements in late October had contained such

language packaging the agreements, conditioning entry of one

upon entry of the other.      The actual written plea agreements,

signed by Tutis and Vega and entered at the hearing on November

1, 2016, had no such coupling language, and were in fact not

coupled or “packaged.”

     As explained in more detail below, during plea

negotiations, Tutis had at least twice rejected proposed

packaged agreements.     The prosecutors then proposed uncoupled

agreements in late October 2016, whereby Vega could plead guilty

independent of her husband’s decision, and the final plea

agreements were not a “package deal” and the coupling language

was removed from both defendants’ proposed agreements.            After

Tutis won major concessions in the final plea agreement such as

preserving his right to appeal certain pretrial suppression

motion rulings and diminishing the amount of his assets subject

to forfeiture, he accepted the plea agreement.          Tutis’ plea

agreement, preserving his right to contest certain pretrial


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suppression motion rulings on appeal, was thus entered as a

“conditional plea” under Rule 11(a)(2), Fed. R. Crim. P.

     The Tutis and Vega plea agreements, entered independently

on November 1, 2016, were indeed uncoupled.         Because the

defendants were husband and wife, there was overlapping language

only as to the interests each defendant was forfeiting in the

properties that were jointly owned, or at least as to which a

spouse might otherwise claim an interest even if not titled in

both names.    Accordingly, neither the prosecutors nor the

defense attorneys suggested to the Court that a special Hodge

colloquy was needed, nor did the court regard them as a package

deal, as will be discussed below.

     This motion also requires that the defendant’s somewhat

revised position be addressed -- namely, that Tutis nonetheless

thought that the pleas remained coupled, and that he still felt

pressured to enter an involuntary plea in order to set up an

issue for appeal, namely, the alleged denial of a Hodge colloquy

at the Rule 11 hearing.      Although Tutis elected not to testify

at the evidentiary hearing on this motion, this alternative

hypothesis was advanced by former attorney Farrell, who did

testify.   As explored further, the defense has failed to

demonstrate that any Hodge colloquy was required or that if such

a colloquy had been undertaken, Tutis would have decided to go


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to trial or his attempt to plead guilty would have been seen as

involuntary.    Indeed, Tutis faced multiple counts that pegged

him as the leader of a major conspiracy to distribute very large

quantities of cocaine, heroin, and crack cocaine in the Atlantic

City area over a period of years, together with the prospect of

an enhanced sentencing information under 21 U.S.C. § 851 that

the Government had delayed filing as plea negotiations continued

which, in the event of conviction, would have doubled the

mandatory minimum sentences upon the drug distribution charges

he faced. See 21 U.S.C. § 841(b)(1)(A).        Moreover, Tutis

affirmed, in his signed plea agreement, his Application for

Permission to Enter Plea of Guilty, and in his Rule 11 colloquy

with the Court, that his decision to accept the Government’s

plea bargain was voluntary, entered of his own free will, and

not coerced.

     Moreover, as discussed in Parts II.G and III below, the

record in general, and this motion in particular, is bereft of

any doubt of Tutis’ guilt of the crimes to which he has pled

guilty.   Other than conclusory statements such as that he

“continues to maintain his innocence as to the charges brought

against him” [Docket Item 443-1 at 2], he has not buttressed

this assertion by facts in the record supporting a defense;




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indeed, no defense to guilt has been proffered, which, as

explained below, also weighs against the relief he seeks.

      For the reasons found herein, the motion will be denied.

II.   FACTUAL BACKGROUND AND PROCEDURAL HISTORY

      A.   The Hearing on this Motion

      The facts pertaining to this motion are derived from the

docket of this case and from the evidentiary hearing on the

motion conducted June 21, 23, and 26, 2017, including exhibits

received into the record from the Government and from Defendant

Tutis.2 The hearing witnesses were Jazmin Vega (Tr. 6/21/17 at

13-119); former Tutis attorney J. Michael Farrell (Tr. 6/21/17

at 121-186 and Tr. 6/23/17 at 1-230); and Jazmin Vega’s attorney

Troy Archie (Tr. 6/26/17 at 4-145).        Defendant Tutis waived his

right to testify (Tr. 6/26/17 at 148-150), which the Court

accepted, (id. at 150:12-14), so Tutis has offered no testimony

in support of his motion.      No AUSA or case agent testified.

      B.   The Charges in the Second Superseding Indictment

      Defendants Toye Tutis and his wife Jazmin Vega, together

with others who entered pleas of guilty on related charges, were




2 The Government’s exhibits included Exs. G-7, 8, 11, 13, 21, 22,
30, 33, 35, 36, and 36A (as a transcript aiding understanding of
taped conversation). The Defendant’s exhibits included Exs. D-1
through 18.

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charged in a Second Superseding Indictment.         [Docket Item 339.]3

Tutis faced the following charges as the alleged leader of major

drug distribution and money laundering conspiracies:

        Count 1 –      drug   trafficking   conspiracy   in
                       Atlantic County, NJ, from February
                       2010 through December 10, 2014, with
                       Jazmin Vega and others to distribute
                       cocaine (5 kg. or more), and heroin
                       (1 kg. or more), contrary to 21
                       U.S.C. §§ 841(a)(1) and (b)(1)(A),
                       in violation of 21 U.S.C. § 846;

        Counts 7-9 – drug distribution of more than
                     500 g.   cocaine   on  October   1,
                     November 17, and November 26, 2014,
                     in    violation   of    21   U.S.C.
                     § 841(b)(1)(B);

        Count 13 -     money   laundering   conspiracy   in
                       Atlantic County, NJ, from February
                       2010 through December 10, 2014, with
                       Jazmin Vega with intent to promote
                       carrying   on   drug    distribution
                       activity, to conceal and disguise
                       the nature and source of the
                       proceeds of the unlawful activity,
                       and    to   avoid    the    currency
                       transaction reporting requirement
                       set forth in 31 U.S.C. § 5313(a),
                       contrary    to    18    U.S.C.    §§
                       1956(a)(1)(A)(i), 1956(a)(1)(B)(i),
                       and   1956(a)(1)(B)(ii),    all   in
                       violation of 18 U.S.C. § 1956(h);

        Counts 21-25 - use of telephone to further a drug
                     offense on various occasions in
                     2014, in violation of 21 U.S.C.
                     § 843(b); and


3 Altogether, 12 defendants had been charged in this case, of which
all 11 others (except one fugitive) pled guilty at various times
before jury selection herein.
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        Counts 26-27 – unlawful possession of firearms
                    by a felon, in violation of 18
                    U.S.C. § 922(g)(1).

     Jazmin Vega was charged in Counts 1, 13, 24, and 25 above.

     In addition, the Second Superseding Indictment contained

forfeiture allegations pertaining to the interests, if any, of

Tutis and Vega in certain cash and firearms found in Tutis’ home

in a search warrant, as well as various bank accounts, vehicles,

and over 30 pieces of real estate that were alleged to be the

proceeds of the charged criminal activity.4         Further, the

Government reserved its right to file an enhanced penalty

information pursuant to 21 U.S.C. § 851 in the event no plea

agreement was reached.     The deadline date for filing the

enhanced penalty information was enlarged with Tutis’ consent

even after jury selection as plea negotiations continued in late

October 2016.    [Docket Item 391.]

     This Second Superseding Indictment [Docket Item 339], filed

in September 2016, a month before the scheduled trial date, was


4 The Second Superseding Indictment contained two separate sets of
forfeiture allegations against Tutis and Vega, the First
Forfeiture Allegation and the Second Forfeiture Allegation, each
containing lengthy and largely identical lists of assets and
property to be forfeited as allegedly a result of the money
laundering offense in Count 13 (First Forfeiture Allegation) and
the controlled substance offense alleged in Count 1 (Second
Forfeiture Allegation).      [Docket Item 339 at p. 10-25.]
Differences between the items listed in the First and Second
Forfeiture Allegations do not matter for purposes of the present
motion.
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the culmination of several years of investigation including

court-authorized electronic interceptions resulting in thousands

of intercepted calls and text messages pertaining to drug

distribution, money laundering, and other crimes among the

alleged co-conspirators.      It had taken counsel almost two years

to prepare for trial, given the volume of discovery, pretrial

motions, substitution of counsel, charges and guilty pleas by

other defendants, and the complexity of the case.           All co-

defendants except Tutis and Vega had entered pleas of guilty

prior to trial.

      C.     Preparation for Trial and Plea Negotiations – Late
             October 2016

      Leading up to the trial date of October 18, 2016, all

counsel indicated that the case would benefit from having some

delay after jury selection and before opening statements to

better prepare for trial and attend to recently-filed

evidentiary motions.      Such a delay would also enable either

defendant to attempt to negotiate a satisfactory guilty pleas,

if desired, before trial actually commenced.          The jury selection

process was completed on October 18 and 19, 2016, and the jury

was instructed to return on Monday, October 31, 2016 to begin

trial.     Meanwhile, in addition to the motion practice and

hearings on October 19 and 31, 2016, the parties continued plea

negotiations among themselves, with Mr. Farrell representing
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Toye Tutis, Troy Archie, Esq., representing Jazmin Vega, and

AUSA’s Howard Wiener and Diana Carrig representing the United

States.

        In short, the Government offered written plea agreements

dated October 27, 2016 to Vega (Ex. D-1) and Tutis (Ex. D-8)

which were linked to each other, that is “packaged,” providing

that fully executed copies of plea agreements for both Vega and

Tutis had to be received by 9:00 P.M. on October 27, 2016 or

both agreements would be null and void.         (Id.)   The initial

coupling of the Tutis and Vega pleas was prominently mentioned

in the proposed plea agreements’ first paragraph in the same

sentence stating the deadline for acceptance, which stated:

          This plea agreement supersedes all prior plea
          offers and is contingent upon the execution of
          a plea agreement dated October 27, 2016 by co-
          defendant Toye Tutis [sic: Jazmin Vega], and
          the entry of her guilty plea pursuant to that
          agreement.

(Ex. D-8 at p.1.)     Similar language appeared prominently in

Vega’s proposed plea agreement linking it to Tutis’. (Ex. D-1 at

p.1.)    Vega accepted and signed the October 27th plea agreement

on that date (Ex. D-2), but Tutis did not.          As a result, Vega’s

acceptance became a nullity.       Tutis told Farrell he did not

accept the October 27th plea offer because it did not preserve

his right to appeal the suppression rulings and because it did

not preserve sufficient assets from forfeiture.          (Farrell
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Testimony, Tr. 6/23/17 at 49:2 to 50:6.)         Tutis sought to

negotiate a more favorable agreement for himself, including

forfeiture of fewer properties and preservation of rights to

appeal certain pretrial rulings.          (Farrell Testimony, Tr. 6/2/17

at 136:5 to 137:6.)     Tutis likewise told Vega he rejected the

package deal of October 27th due to Tutis’ concerns about the

forfeiture of too many properties and to preserve his

conditional appeal.     (Vega Testimony, Tr. 6/21/17 at 69:10-15.)

      On Friday, October 28th, the Court conferred with all

counsel who requested that the jury should not be asked to

return on October 31st because a resolution of the cases with

Vega and Tutis was still possible; Mr. Farrell advised that if a

suitable plea agreement was not negotiated with the Government,

that his client might be amenable to a stipulated non-jury trial

to preserve rights to appeal pretrial suppression motion

denials.    (Farrell Testimony, Tr. 6/21/17 at 136:12-22.)

Counsel asked for more time over the weekend to see if Tutis and

the Government could arrive at a stipulation for an abbreviated

non-jury trial on all counts; Jazmin Vega was not to be part of

the stipulated trial of Toye Tutis.         (See Archie Testimony, Tr.

6/26/17 at 29-32.)     That Vega would be free to enter her own

plea -- and thus be decoupled from Tutis, who would have a




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stipulated non-jury trial -- became clear from these procedural

developments as of October 28th.

      At a hearing on October 31st, in the presence of all counsel

and both defendants, it was revealed that Farrell and AUSA

Carrig communicated over the weekend of October 28th-30th,

exchanging proposed stipulations for the Tutis-only consent

trial, while Farrell and AUSA Wiener resumed plea negotiations

regarding Tutis.     (Tr. 10/31/16, Ex. D-17 at 3:19 to 8:16.)

Farrell’s testimony also confirmed that he spent considerable

effort with AUSA Carrig over the weekend working on these

consent trial stipulations.       (Tr. 6/23/17 at 77-79.)      The

October 31st conference included some discussions of how the

stipulated trial of Tutis would be conducted.          (Tr. 10/31/16,

Ex. D-17, at 3-5, 8.)      This is, of course, strong evidence that

the fates of Tutis and Vega were diverging and uncoupled by

October 31st.    The substance of the parties’ plea negotiations

was not disclosed at that time, since final written agreements

had not been made.     The undersigned, consistent with Fed. R.

Crim. P. 11(c)(1), did not participate in any plea negotiations;

the Court’s interest at that time was solely in managing the

waiting jury and the Court’s calendar, and determining whether

the parties’ requests to defer the start of trial for further

negotiations should be accommodated.


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      D.     The Proposed Plea Agreements are Unpackaged

      By October 31st, the Government agreed with Mr. Archie that

Vega should be permitted to plead guilty independently of her

husband’s decision.     AUSA’s Wiener and Carrig negotiated the

uncoupled plea with Mr. Archie, who also assured Vega that she

would be permitted to plead guilty even if Tutis did not.

      Thus, Mr. Archie texted his client, Ms. Vega, on the

morning of November 1st, that the Government had agreed that

Vega could plead guilty even if Tutis did not -- in other words,

that the pleas were not coupled.          Archie’s text stated:    “I

still have you worked if Toye is acting crazy.”          (Ex. G-11.)

Mr. Archie testified that this was meant to reassure Vega that

she could still plead guilty regardless of what Tutis decided to

do.   (Tr. 6/26/17 at 7-10.)      Mr. Archie explained that he had

asked AUSA Carrig to let Vega plead without being tied to Tutis

because he thought Tutis did not have Vega’s best interests at

heart.     (Id. at 26-27.)   Ms. Vega also recalled in her testimony

that she met with Mr. Archie and AUSA Carrig in a small

conference room in the courthouse, and that AUSA Carrig also

told her she would be allowed to plead guilty, for which Ms.

Vega thanked AUSA Carrig.       (Tr. 6/21/17 at 94:4 to 95:1.)

Attorney Archie also recalled the conversation with AUSA Carrig

and his client Jazmin Vega, the substance of which was that the


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Government would accept a guilty plea from Vega “no matter what

Toye Tutis did” (Tr. 6/26/17 at 31:20 to 32:16), for which

Jazmin Vega expressed thanks.       (Id. at 32:17-18.)

      On the evening of October 31st, consistent with this

understanding that Vega could plead guilty whether or not Tutis

chose to do so, the Government provided uncoupled plea

agreements to counsel for both defendants, with the prominent

coupling language of previous drafts deleted.          Because of the

uncertainty of Tutis’ situation, as Tutis pressed for more

concessions, the Government had demanded slightly more onerous

terms in Vega’s new uncoupled plea agreement of October 31st (Ex.

G-5) compared with the earlier coupled version of October 27th

(Ex. D-1).    (Vega’s October 31st draft plea agreement is set

forth in Ex. G-5, while the draft agreement proposed to Tutis on

October 31st appears at Ex. G-4.)         No coupling language appeared

in defendants’ drafts.      (Id.)

      At the October 31st status hearing, AUSA Wiener also

revealed that the new draft agreements were the product of

discussions with counsel but did not yet bear signatures of

their clients.     (Tr. 10/31/16, Ex. D-17 at 13.)       The Government,

as noted, had a new agreement in principle with Mr. Archie (Ex.

D-17 at 13:2-7), but Ms. Vega herself needed to review and

accept the new terms.      (Id.)    On the other hand, the course to


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be chosen by Mr. Tutis -- whether a guilty plea, a negotiated

disposition (i.e., a non-jury stipulated trial), or a jury trial

-- was still unknown on October 31st, according to AUSA Wiener,

who said that the Government was preparing for all three

possibilities.     [Ex. D-17 at 24:10-12.]      Also, Mr. Farrell

indicated that one unsettled aspect of the negotiations

pertained to forfeitures and obtaining agreements from two

individuals -- Amanda Tutis and Kyle McHuge -- to quitclaim any

interests they had in several of the properties to be forfeited.

(Id. at 4:6-24.)     This was part of a larger compromise on

forfeitures whereby some of the subject properties would be

returned to Tutis and Vega.

      Also, at the October 31st hearing, in the context of

expressing appreciation to the Marshal’s Office and the General

Counsel of FDC Philadelphia for permitting joint discussions

with Tutis and Vega for plea negotiation purposes, Farrell

observed “these are tied pleas” (Tr. 10/31/16 at 6:1-20.)            At

that time in the afternoon of October 31st, no one corrected

Farrell’s statement as it was not known what path the

negotiations might take.      Indeed, the decoupling of the pleas

was not confirmed until later that evening, when AUSA Wiener, at

8:29 PM, emailed Farrell a newly drafted proposed plea for Tutis

to sign, with no language tying Tutis’ plea to Vega’s.            (Ex. D-


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13.)    AUSA Wiener enlarged the deadline for Tutis to accept

until 11:00 A.M. on November 1st.         (Id.)   Farrell attempts in his

testimony to vest great significance into his remark about the

pleas being “tied” at that earlier time.          (See, e.g., Tr.

6/23/17 at 7, 17.)     Farrell claimed he did not notice, and no

one informed him, that the agreements were now uncoupled (id. at

12-15), and he in fact testified that “if I had noticed that

that language was excised, it probably would not have changed my

view that it was coupled, that they were continuing to be tied”

(id. at 16:18-20), which this Court finds to be incredible as

well as illogical.

       E.   Final Negotiations on November 1st

       Negotiations on the Tutis plea continued on November 1st at

the courthouse.     Even though Tutis and attorney Farrell knew

Jazmin Vega had reached agreement and was ready to plead guilty,

Tutis declined and pressed, through Farrell, for more

concessions in his own plea decreasing the list of properties to

be forfeited as well as preserving his right to appeal certain

pretrial suppression rulings.       Mr. Archie testified that Farrell

told him on November 1st that Tutis would not plead guilty if

the Government did not make more forfeiture concessions,

including “carve-back” provisions.         (Tr. 6/26/17 at 51.)

Everyone also recognized that the final lists of forfeited


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properties and “carve-backs” (i.e., properties seized by the

Government from Tutis and Vega and to be returned to them as a

condition of their pleas) should be identical if both decided to

plead guilty, or it would complicate the Government’s forfeiture

process on any jointly-held properties.         Thus, as Farrell

negotiated for Tutis with the Government on November 1st, Archie

waited to enter Vega’s plea until the final forfeiture language

could be inserted in Vega’s plea agreement.          (Id. at 39-41, 68.)

Vega’s separate plea was worked out in principle on October 28th

(id. at 89) and only the forfeiture piece remained for last-

minute adjustments on November 1st, according to Mr. Archie,

whose testimony I credit in its entirety.5         (Id. at 92:21.)     If

Tutis did not plead guilty, Mr. Archie was prepared to put

Jazmin Vega’s plea through on its own, since it was decoupled

from Tutis.    (Id. at 116.)     There was no reason that Vega and

the Government would not proceed with Vega’s separate guilty


5 In his testimony, Mr. Archie was called upon to explain prior
inconsistent statements he made in a certification he prepared in
connection with this motion (Docket Item 452-3), including his
recollection that the final pleas of Vega and Tutis were packaged.
(Id. ¶ 15.) Mr. Archie explained why that was not accurate and
how his recollection of events was sharpened by preparing for the
hearing, including reviewing his file and being interviewed by the
Assistant U.S. Attorneys. (Archie Testimony, Tr. 6/26/17 at 67:16
to 69:10; 93:14-21.)     Mr. Archie’s explanations for why his
hearing testimony was more accurate than his prehearing
certification prepared from memory ring true and consistent with
the circumstances. By his demeanor and non-combative responses,
Mr. Archie was a highly credible witness.
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plea on November 1st if Tutis didn’t enter a plea agreement.

(Id. at 121.)

        F.   Final Agreements are Reached on November 1st

        Late in the afternoon on November 1st, following more Tutis

demands and negotiations, the plea agreements were in final

form, uncoupled and not conditioned upon entry of a plea by the

other spouse.    Vega’s final plea agreement of November 1st (Ex.

G-7), uncoupled from Tutis’, pertained only to Count 13 and

increased the amount of money laundering activity for which she

accepted responsibility, from $1.5 million to $3.5 million,

which increased her projected Sentencing Guideline range

compared with the earlier coupled agreement.          Mr. Archie

believed the Government had a strong case after he reviewed

several hundred tapes of conversations and surveillance reports

pertaining to drug distribution and money laundering

conspiracies.    (Tr. 6/26/17 at 146.)      Vega agreed that this

higher figure reflected her actual criminal conduct in this

case.    (Tr. 6/21/17 at 78:13.)     Mr. Archie had explained to Vega

that in the earlier package deal, the Government was willing to

give her a break as an inducement to Tutis to plead guilty (Tr.

6/21/17 at 78:8), as to which the Government agreed to advocate

for a sentence for Vega no greater than 60 months.           Now that the

pleas were unpackaged, the projected Guideline range increased


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somewhat with the enhanced money-laundering amount, and the

Government would only agree to advocate for a sentence no

greater than 78 months.      (Id. at 78:13; 83:15.)      The final

agreement was more favorable to Vega in other respects, for

example, in obtaining a carve-out for her laundromat property at

1011 Arctic Avenue, which was expected to be a source of her

future employment and income, and several other properties.

(Id. at 88:15 to 89:14; Ex. G-7 at p. 13.)          Between the October

31st draft plea agreement (Ex. G-3) and the final plea agreement

for Vega (Ex. G-7), only the forfeiture provisions changed, in a

manner that was favorable to Vega by excluding several

properties.    (Tr. 6/21/18 at 90:19 - 94:3.)        Vega testified that

she still thought her final, unpackaged agreement was fair and

that she was satisfied with it.        (Id. at 101.)    That Vega’s

exposure increased in the renegotiated, unpackaged plea

agreement is further strong evidence that her plea and Tutis’

were not packaged when entered on November 1st because the

“volume discount” for packaged pleas was no longer in play.

      Tutis’ separate final plea agreement, also unpackaged (Ex.

D-14), was also dated, signed, and entered on November 1, 2016.

The language coupling his plea with Vega was deleted from the

first paragraph (Ex. D-14), and nobody from the Government

indicated that the two pleas were dependent on each other.


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Tutis entered his plea first, before Vega, not because the pleas

were packaged requiring him to plead guilty first, but simply

because his name was first on the case caption and the Marshals

had to take him back to his place of confinement in FDC

Philadelphia, as it was about 5:40 PM, while Vega remained free

on conditions of release.       (See Tr. 11/1/16 at 11:19-25; and

Archie Testimony, Tr. 6/26/17 at 59:25 to 60:13, and colloquy

with Mr. King in Tr. 6/26/17 at 110-113.)

      G.    Tutis’ Rule 11 Hearing on November 1st; Farrell’s and
            Tutis’ Statements

      The plea which Tutis now seeks to set aside was presented

in a 17-page letter (Ex. D-14), which he and Farrell signed on

November 1st, accompanied by an Application for Permission to

Enter Plea of Guilty, also signed by both Tutis and Farrell on

November 1st.    (Ex. G-8.)    The 53-page transcript of Tutis’

hearing on November 1st (Ex. D-16) established that all

requirements of Rule 11, Fed. R. Crim. P., were easily met,

especially including Tutis’ voluntariness in deciding to enter

this agreement.     Defendant Tutis’ written plea agreement was

entered as Ex. C-1 at the November 1st hearing, while Defendant’s

Application for Permission to Enter Plea of Guilty (hereafter

“Tutis Application”) was entered as Ex. C-2.          (See Tr. 11/1/16

(Ex. D-16) at 13:25; 18:23; 20:21.)        For example, the hearing

began with the Government identifying the written plea
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agreement, which also included an addendum stipulated issues and

of language reserving the right to appeal certain issues, as the

parties’ complete plea agreement.         (Id. at 2:16-4:8.)    The

Government orally paraphrased the terms of the written agreement

at length.    (Id. at 4:18-8:7.)     Terms regarding waiver of

certain appeal rights and preservation of others were clarified

by counsel on the record.       (Id. at 8:11-13:24.)

      Farrell confirmed on several occasions that the document,

including the various interlineations carefully added and

initialed by him and by Tutis, was the complete plea agreement

(id. at 13:22-24), that he believed that Tutis’ decision to

plead guilty was knowing and voluntary (id. at 12:20-22), that

he knew of no reason the Court should not accept Tutis’ plea of

guilty (id. at 15:23-25; 16:21-23; 51:4-7), and that he believed

it was in Tutis’ best interest to enter this plea (id. at 16:24-

17:1.)

      Tutis was sworn and understood he should raise questions

about anything he did not understand and to feel free to discuss

any matter confidentially with his attorney (id. at 17:18-18:1),

because he “can never come back another day and say, Judge, I

didn’t know what I was doing back on November 1st, or Judge, I

don’t want to plead guilty anymore.”        (Id. at 18:2-7.)      That

scenario, of course, is exactly what Tutis is attempting to do


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in his present motion to withdraw his guilty plea on the ground

of involuntariness.

      The Tutis plea colloquy, with Farrell’s participation,

could scarcely have been more exacting on November 1st.           Before

the hearing even began, Tutis had been in continuing discussions

with Farrell and negotiations with the Assistant U.S. Attorneys,

capping a week of talks.      Tutis completed his Application with

the assistance of Farrell.       Tutis impresses as an intelligent,

articulate, and self-directed person, which Farrell has

confirmed in his testimony.       (Tr. 6/23/17 at 39:22 to 41:19.)

He had been a businessman who, prior to 2014, had run an HVAC

company, a construction company, and a real estate management

company.    (Id. at 39:7-21.)     He was very involved in his own

defense, discussing case law and seeming familiar with the legal

concepts.    (Id. at 40:2 to 42:14.)      In other words, Tutis made

up his own mind about decisions with Farrell in plea

negotiations.

      Significantly for present purposes, Tutis indicated in his

Application (Ex. G-8) that “I have not been forced, coerced or

threatened in any manner by any person to plead GUILTY to these

charges.    Nor have I been told that if I refuse to plead GUILTY,

other persons will be prosecuted.”        (Ex. G-8 at ¶ 36, emphasis

added.)    This declaration was further acknowledgement by Tutis


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that his decision to plead guilty was uncoerced and he could

decide to refuse to plead guilty without consequences to the

prosecution of “other persons,” i.e., Jazmin Vega.           Tutis also

declared that “I have read [my plea agreement] or had it read to

me” (id. ¶ 37) and that “I offer my plea of GUILTY freely and

voluntarily and of my own accord with full understanding of all

matters set forth in the ... Indictment..., in this application,

and in the certification of my lawyer which is attached to this

application.”    (Id. at ¶ 44.)     Farrell’s “Certification of

Counsel” upon the Application likewise declared, among other

things, that Tutis’ declarations “are in all respects accurate

and true” and that Tutis’ plea of guilty “is voluntarily made

with understanding of the consequences of the plea.           I recommend

that the Court accept the plea of GUILTY.”          (Id., “Certification

of Counsel” 3 & 9.)     Farrell, of course, tried to negate these

very certifications in his testimony upon the present motion, as

discussed.

      In his oral testimony at the November 1st hearing, Tutis

indicated he was “pleading guilty of [his] own free will” and

that nobody “forced [him] to plead guilty or threatened [him] to

make [him] plead guilty.”       (Tr. 11/1/16, Ex. D-16, at 19:19-24.)

Tutis confirmed that he read his plea agreement and went over it

carefully with Farrell before deciding what to do in the course


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of a week of back-and-forth negotiations.         (Id. at 20:25-21:8.)

Tutis indicated that he initialed the pen-and-ink changes and

that, with those changes, this is his “complete plea agreement”

and that nobody has promised anything that’s different from the

written plea agreement.      (Id. at 21:9-22.)      Likewise, Tutis

testified there was nothing in the agreement he did not

understand, that he accepted the plea agreement, and that it was

his personal decision to accept the final plea agreement.            (Id.

at 22:2-12.)

      Tutis responded at length to questions acknowledging his

knowing and voluntary waiver of constitutional rights (id. at

22:13-25:9), and about the sentencing risks and procedures (id.

at 25:10-33:1), which are matters not disputed in the current

motion.

      Tutis then proceeded to answer detailed questions (which he

had reviewed with Farrell beforehand, see id. at 33:2-10)

establishing a factual basis for his guilt on Counts 1 and 13 of

the Second Superseding Indictment.        He first admitted he is

guilty of Count 1.     (Id. at 34:13-15.)      Tutis admitted to the

charged conspiracy to distribute drugs in Atlantic County, New

Jersey, from February of 2012 through December 10, 2014

involving 150 to 450 kilograms of cocaine and approximately 26

kilograms of heroin.      (Id. at 34:16-35:17.)


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      Tutis likewise provided a factual basis for his guilt on

Count 13, admitting conspiring with Jazmin Vega to launder money

by conducting financial transactions with funds that were the

proceeds of drug trafficking.       (Id. at 35:18-36:4.)      Tutis would

go to banks with Vega and exchange small denomination bills for

$50’s and $100’s, and package and ship the larger bills on

multiple occasions to Los Angeles, for the purpose of enabling

himself and others to purchase more heroin and cocaine for

distribution.    (Id. at 36:5-37:6.)      Tutis admitted he structured

the cash transactions through various branch banks to knowingly

avoid the bank’s $10,000 cash reporting threshold in a 24-hour

period.   (Id. 37:24 to 38:23.)      Tutis also swore that he

understood and accepted all the stipulations in Schedule A of

his November 1st plea agreement, which repeat many of the

incriminating facts of his oral plea colloquy.          (Id. at 39:10-

40:4.)6




6 The lengthy stipulations in Schedule A of the final Tutis plea
agreement, Ex. D-14, included many admissions of his factual guilt
of conspiracy to distribute drugs and conspiracy to launder drug
proceeds. For example, he admitted the Count 1 drug conspiracy
offense involved 150 to 450 kilograms of cocaine, and that he
possessed a dangerous weapon in connection with it, and that he
was an organizer, leader, manager, or supervisor of the relevant
criminal activity. (Ex. D-14 at Sch. A, ¶¶ 3(a), (b), and (c).)
Similar stipulations covered Tutis’ admissions of guilt in the
Count 13 money laundering conspiracy. (Id. at ¶¶ 4(a), (b), and
(c).)
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      Accordingly, both attorneys indicated they were satisfied

that Tutis’ answers established a factual basis for accepting

the guilty plea (id. at 40:14-18), and the Government proffered

that if the case had gone to trial, it was prepared to prove

each essential element of every count of the Second Superseding

Indictment beyond a reasonable doubt.         (Id. at 40:19-24.)

      In the present motion, consistent with his guilty plea,

neither Tutis nor his counsel have proffered any factual basis

for doubting his guilt.      Tutis raises no criticism of the

factual bases of his guilty pleas on Counts 1 and 13, above, nor

does he suggest any reason whatsoever that he believes himself

not to be guilty.     This important consideration is addressed

further below in Part III. A. 1.

      In his November 1st guilty plea hearing, Tutis also

acknowledged that he understood and voluntarily agreed to

conditionally waive his right to appeal if his sentence is 330

months or less, except that his right to appeal the enumerated

pretrial rulings is preserved regardless of the sentence, all as

part of his negotiated plea agreement, (id. at 41:2 to 42:8),

consistent with the stipulations in his written plea agreement

at ¶ 9 and pages 15A and 15B thereof.         (Id.)7   The attorneys


7 The Court similarly reviewed with Tutis his waiver of the right
to seek post-conviction relief under 28 U.S.C. § 2255 consistent
with his plea agreement, if his sentence is 330 months or less,
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again indicated their satisfaction that the record established

Tutis’ knowing and voluntary waivers of appeal and post-

conviction relief.     (Id. at 43:20-24.)

       The Court asked Tutis additional questions regarding the

forfeiture provisions of the plea agreement at pages 4-11

thereof enumerating the many real properties, accounts,

vehicles, jewelry, and cash that he agreed to forfeit (id. at

45:17 to 50:23), all of which Tutis understood, and he agreed to

forfeit his ownership interest.        (Id.)   He had discussed the

forfeiture provisions in detail with Farrell and these were, as

noted above, the subject of continued hard bargaining by Tutis,

winning additional concessions from the Government on November

1st.   (Id. at 47:7-12.)    Mr. Tutis indicated he had no questions

about his forfeiture obligations (id. at 50:21-23), and both

counsel likewise indicated that no further questions were needed

about forfeiture or any other topic (id. at 50:24 to 51:3), and

that the Court should accept the guilty plea (id. at 51:4-7.)

       H.   Farrell’s Attempts to Undermine his Rule 11 Hearing
            Certifications




except that his right to claim ineffective assistance of counsel
in a § 2255 motion is preserved, as also noted in his plea
agreement.   (Id. at 42:9 to 43:19.)    Tutis again indicated he
wished to do so as part of his negotiated plea agreement, after
having discussed the matter with Farrell. (Id. at 43:4-19.)
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      In the hearing on the present motion, Farrell testified at

some length that, at the conclusion of the Rule 11 hearing, he

professed he was surprised that the Court did not ask Tutis

questions required by the Hodge case, supra, in cases where

there are packaged guilty pleas.          (See, e.g., Tr. 6/21/17 at

171:24 to 172:24, 175:14 to 179:20.)         He testified that earlier

in the week, when the Vega and Tutis plea proposals were tied,

he had done legal research and read the Hodge case and discussed

it with Tutis to prepare Tutis for a Hodge colloquy about

voluntariness.     (Id. at 175:14 to 176:15.)       He discussed with

Tutis, during the week before November 1st, the Hodge

considerations about packaged or coupled pleas.          (Id. at 180:17

to 181:6.)    Tutis was prepared to answer the Hodge colloquy

questions involving his willingness to enter a packaged plea,

including “the implicit concerns with respect to tied pleas.”

(Id. at 175:23-24.)     Farrell never expressed doubt that Tutis

acknowledged the special burdens of a packaged plea, accepted

them, and would have entered a knowing and voluntary agreement

to a packaged plea agreement.

      Of course, the pleas were no longer packaged by November

1st, and neither the Government nor the Court considered there

was any need for a Hodge colloquy.         Farrell now claims that even

though he believed a Hodge colloquy was required to protect his


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client’s interests in a voluntary plea, he opted to remain

silent and to make no such request of the Court. (Id. at 177:6

to 178:13.)8    He claims he chose not to bring Hodge to the

Court’s attention, despite knowing the protective purposes of

the Hodge colloquy in a packaged plea, claiming he “chose

loyalty to my client.”      (Id. at 178:1-2.)     He testified on

direct exam that he essentially wanted to inject such supposed

error into the Court’s plea hearing so that it could serve as a

basis for setting his plea aside, and he supposedly did not see

it as his burden to bring up the Hodge requirements.           (Id. at

177:12 to 178:13.)     He recalled briefly advising Tutis after the

Rule 11 hearing that “the Hodge component was missing and that

it would affect the voluntariness of his plea.”          (Id. at 179:6-

8.)




8 In a packaged plea, both the prosecutor and the defense counsel
have the duty to bring the matter to the Court’s attention and to
request the Court to conduct the additional colloquy concerning
same.   The Hodge court makes it clear that “the parties” have
those obligations, Hodge, 412 F.3d at 491 (”We therefore hold that
the parties must notify the district court that a package deal
exists and state to the court on the record the specific terms of
the deal. See Fed. R. Crim. P. 11(c)(2)”). If that wasn’t clear
enough, the Hodge court explicitly noted:     “Prescriptively, as
officers of the court, defense counsel have no less of a duty to
follow the rules of disclosure than prosecutors.        This duty
includes disclosing that a plea bargain is a package deal.” Id.
at 491 n. 14. Farrell’s contention that a defense attorney who
believes Hodge is implicated can knowingly choose to remain silent
is legal nonsense. This is another reason Farrell’s recollection
of events is not credible.
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      I do not believe Farrell’s testimony in the present motion

in June 2017, that he still believed, on November 1st, that the

pleas were still coupled and that a Hodge colloquy was still

needed.   First, Mr. Archie, who was continuously involved with

Farrell as the negotiations progressed, did not expect any Hodge

questioning to occur because the pleas were uncoupled, and he

was not surprised.     (Tr. 6/26/17 at 142:17 to 143:1.)        Second,

Mr. Farrell’s actual conduct at the November 1st hearing was to

assure the Court that nothing was left out of the Rule 11

colloquy and that no further questions regarding Tutis’ decision

to plead guilty were needed.       (Tr. 11/1/16, Ex. D-16, at 50:24

to 51:3.) The Court accepts Farrell’s assurances on November 1st

as well-founded and accurate, namely, that Farrell actually

believed all proper questions had been asked and answered and

that Tutis’ plea should be accepted, because it was knowing and

voluntary and based on his perceptions of his client.           His

testimony on this motion, on the other hand, is a corrupt

attempt to help Tutis’ cause seeking to set aside a valid guilty

plea by pretending that he and Tutis understood the pleas to be

coupled or packaged together, forcing his client to plead guilty

involuntarily, even though they weren’t, and in any event, any

decision by Tutis was voluntary.          Third, Farrell indicated on

November 1st that Tutis’ decision to plead guilty was indeed


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knowing and voluntary (id. at 12:20-22), and Farrell’s testimony

identifies no basis to conclude that Tutis’ decision was

involuntary; indeed, the record reflects that Tutis rejected

earlier plea offers that actually were coupled and would have

been more favorable to Jazmin Vega than the final, uncoupled

plea which was the result of Tutis’ hard bargaining to preserve

for himself certain appellate rights by means of a conditional

Rule 11(a)(2) plea and to forfeit fewer properties without

regard for increasing Vega’s exposure to imprisonment as shown

above.   Fourth, Farrell, having been convicted of felony

offenses in January 2017, is less worthy of belief; by the time

of his testimony on this motion in June 2017, Farrell had been

disbarred, awaited sentencing in the District of Maryland, and

no longer jeopardized his law license by lying for a client

since he had already lost it.       Fifth, observing Farrell’s

demeanor as a witness, I observed he seemed most uneasy when the

subject of the questioning turned to Tutis’ voluntariness, as if

he was trying to keep his “story” straight.          Sixth, Jazmin Vega

herself understood that the pleas were no longer packaged and

that she would plead guilty under the deal negotiated by Mr.

Archie whether or not Tutis ultimately decided to do so.

Farrell’s testimony amounts to a clumsy and unethical attempt by




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ex-counsel to “fall on his sword”, albeit a fabricated sword,

for the benefit of setting aside a conviction.

      I.    Would Tutis Have Rejected Conditional Plea if He Fully
            Understood it was not Packaged with Vega’s Plea?

      Moreover, even if one assumes (for the sake of argument and

contrary to the credible evidence) that Tutis somehow did not

understand that his plea agreement was not coupled with Vega’s,

Defendant Tutis has failed to show that he would not have

entered his plea of guilty if he knew it was unpackaged, or that

he would have manifested a degree of involuntariness or coercion

that would impair his plea.       The facts show that Tutis’

motivation came from his desire to get the best plea agreement

he could by (a) preserving appellate rights as to certain

pretrial suppression rulings in a conditional plea, (b) ending

the very real and proximate threat of the Government’s filing of

an enhanced penalty Information under 21 U.S.C. § 851 within the

next day if he decided not to plead guilty, and (c) clawing back

certain valuable properties that the Government had seized for

forfeiture.    He had, in fact, rejected the proposed packaged

plea agreement of October 27th and persisted in doing so for the

next four days of negotiations.        When the pleas were unpackaged

and his three demands, above, were met, he accepted late on the

afternoon of November 1st.



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        Defendant Tutis’ moving brief asserted that Tutis, at the

time of entering his guilty plea, was “overcome by force, fear,

and misapprehension.”      [Docket Item 443-1 at 6; see also id. at

5 (“he was overcome by force, misapprehension and fear”.)]

Insufficient evidence exists that he was motivated in a

meaningful way by fear for his wife’s prosecution.           He, of

course, cared about his wife and even told her he was pleading

guilty for her sake [Tr. 10/31/16 (Ex. D-5) at 3:15-20] on

October 31st, but on the morning of November 1st, he rejected the

plea offer of October 31, 2016, that the defense now incorrectly

claims was still “packaged” with hers.         If he truly believed the

pleas were still packaged, it follows that he also knew that his

rejection would force his wife to go to trial even though she

had essentially stated, in her Frye hearing before trial on

October 17th, that she was desirous of reopening her plea

negotiations with the Government before trial commenced.            (Tr.

10/18/16 at 6:22 to 7:8.)       Nowhere in Farrell’s testimony does

he offer facts supporting the notion that Tutis would have

chosen to reject the Government’s final offer that actually met

his three objectives, above, if it was unpackaged from Vega’s

plea.    Nor is there any inference in the record that Tutis would

have given answers in his Rule 11 colloquy demonstrating

involuntariness or coercion.       Regarding the earlier discussions


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of a packaged deal, Farrell testified that he thought Tutis’

considerations of the impact on his wife and his daughter Amanda

(as to forfeiture issues) were “all variables in the calculus of

his decision” (Tr. 6/21/17 at 181:17), and there were times in

those discussions when Tutis would be frustrated with the

negotiations and “kind of throw up his hands and indicated that,

well, I’m just going to go to trial.        That would happen during

the course of our dynamic.”       (Id. at 181:17-20.)      While

Farrell’s testimony, if it is believed, indicates Tutis had

plenty of frustration or ambivalence about pleading guilty, such

a situation is far from unusual and hardly gives pause about

voluntariness.     The fact is that the guilty plea happened as

soon as the Government met Tutis’ demands, none of which

involved Vega (other than perhaps the non-forfeiture of the

laundromat property that she runs for income).          The defense

never addressed the salient issue of whether Tutis likely would

have rejected the final plea deal if he had understood it to be

unpackaged on November 1st.

      Personality-wise, Farrell’s assessments of Tutis were that

he was an intelligent person who ran several construction

companies, understood and discussed legal issues and asked

questions, reviewed Farrell’s briefs before filing, and was not

particularly easy to persuade (Tr. 6/23/17 at 38-48.)           Again,


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there is no evidence that Tutis was not well-informed,

intelligent, and more than capable of making his own decisions

whether or not to plead guilty.        This too cuts against his plea

being involuntary.     This, of course, is consistent with Tutis’

testimony at his Rule 11 hearing on November 1st that it was his

personal decision and not just his attorney’s recommendation

that he accept this plea agreement.        (Tr. 11/1/16 at 22:9-12.)

In other words, in light of the credible evidence, it clearly

appears that Tutis would have accepted the final, renegotiated

plea agreement of November 1st, and the benefits it conferred

upon him, whether or not it was packaged with Vega’s agreement,

and that Tutis would not have given answers that suggested

concerns of involuntariness or coercion.

      III. LEGAL ANALYSIS

      A.    Requirements for Withdrawal of Guilty Plea

      Rule 11(d)(2)(B), Fed R. Crim. P., provides in relevant

part that “[a] defendant may withdraw a plea of guilty ... (2)

after the court accepts the plea but before it imposes sentence

if: ... (B) the defendant can show a fair and just reason for

requesting the withdrawal.”       Prior to the adoption of Rule

11(d)(2)(B), the Third Circuit had held that withdrawal of a

guilty plea before sentencing should be “freely allowed,”

applying previous Rule 32(d), Fed. R. Crim. P., as in United

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States v. Young, 424 F.2d 1276, 1279 (3d Cir. 1970) and United

States v. Herrold, 635 F.2d 213, 215 (3d Cir. 1980).           Since

1983, however, when Rule 32(d) was amended to provide a more

exacting standard for withdrawal of a guilty plea before

sentencing, the defendant must meet a “substantial” burden of

demonstrating the “fair and just reason” for withdrawal.            United

States v. Siddons, 660 F. 3d 699, 703 (3d Cir. 2011).           Thus,

“[o]nce a court accepts a defendant’s guilty plea, the defendant

is not entitled to withdraw that plea simply at his whim.”

United States v. Jones, 336 F.3d 245, 252 (3d Cir. 2003).

      “When determining whether a defendant has shown a ‘fair and

just reason’ for withdrawing a plea, a district court must

consider whether: ‘(1) the defendant asserts his innocence; (2)

the defendant proffered strong reasons justifying the

withdrawal; and (3) the government would be prejudiced by the

withdrawal.’”    Siddons, 660 F.3d at 703 (quoting United States

v. King, 604 F.3d 125, 139 ((3d Cir. 2010)).          We next address

these Siddons factors.

            1.   Whether Defendant Asserts his Innocence

      Under the first prong in Siddons, supra, we examine whether

Defendant Tutis asserts his innocence to the charges to which he

has pled guilty, namely Count 1 (drug distribution conspiracy)

and Count 13 (money laundering conspiracy).          Under Siddons, any


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assertions of innocence “must be buttressed by facts in the

record that support a claimed deference,” and a defendant must

“sufficiently explain the contradictory position he took during

the plea colloquy.”     Siddons, 660 F.3d at 703 (internal quotes

omitted).    A defendant must make more than a “bold assertion of

innocence.”    United States v. Wilson, 429 F.3d 455, 458 (3d Cir.

2005).   After all, a plea of guilty, under oath, upon the record

including acceptance of a written plea agreement and its factual

stipulations and admissions of guilt as in this case, is a

“solemn admission” of guilt.       United States v. Isaac, 141 F.3d

477, 485 (3d Cir. 1998).      As noted above, Tutis, in his Rule 11

hearing, as in in his final plea agreement and in his

Application to Enter Plea of Guilty, not only admitted his guilt

on Counts 1 and 13, but also stipulated to committing the

factual elements of each crime, in detail.

      The present motion is bereft of any proffer of facts in the

record casting doubt on Tutis’ guilt.         Other than a generalized

clause that “Mr. Tutis continues to maintain his innocence as to

the charges brought against him” [Docket Item 443-1 at 2], there

was no proffer that some element of guilt was missing or even

debatable.    Neither Farrell’s testimony nor Vega’s testimony at

the hearing on this motion discussed anything that questioned

Tutis’ guilt, the strength of the evidence against him, or some


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sort of newly discovered exculpatory evidence.          Not

surprisingly, defense counsel’s closing argument candidly

conceded that there is no record evidence that supports Tutis’

claim of innocence.     (Tr. 6/26/17 at 179:18-24.)        Although

counsel also argued that the defendant’s mere assertion of

innocence suffices the Rule 11(d)(2)(B) burden under Siddons,

Third Circuit precedent calls upon the district court to assess

whether the defense has buttressed a generalized assertion of

innocence with “facts in the record that support a claimed

defense.”    Siddons supra, 660 F.3d at 703.

      It is, of course, possible that a defendant’s detailed

admissions of guilt under oath were all perjury, where the

individual has other reasons for falsely admitting to the

charged crimes.     The purposes of the careful Rule 11 colloquy,

under oath or affirmation, are aimed at preventing the

conviction of an innocent person.        This is not such a case.9




9 Tutis apparently argues that his numerous admissions of guilt in
his November 1st plea hearing were false because he was overwhelmed
with concern for his wife, as “his only thoughts were of the
additional charges that could be brought against his wife and the
additional sentence she would face.” (Defendant. Br. Docket Item
443-1 at 4.) The hearing on the present motion, however, yielded
no evidence that the Government threatened additional charges
against Vega if Tutis did not plead guilty.        Such additional
charges against Vega, where the indictment had already been amended
twice and the jury had already been selected, had essentially no
possibility of occurring.
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      If Tutis is arguing that he has a meritorious defense to

admission of wiretap or other surveillance evidence against him

at trial, and therefore wishes to retract his guilty plea to

preserve an appeal of those pretrial suppression motion rulings

in the event of conviction at trial, that contention is not new

nor is it incompatible with his decision to enter a conditional

guilty plea.     Preserving appellate rights was an essential

demand of his plea negotiations, upon which he succeeded.            Tutis

entered into his conditional plea agreement under Rule 11(a)(2),

Fed R. Crim. P., preserving his right to raise certain issues on

appeal.   This is not a case where he needs to retract a guilty

plea to do so.

      Accordingly, the first Siddons factor militates against

permitting withdrawal of this plea because there is no plausible

claim of innocence.

            2.    Whether Defendant Presented Strong Reasons
                  Justifying the Withdrawal

                  a.   Lack of Hodge Colloquy

      Tutis initially claimed he should be allowed to withdraw

his guilty plea because it was packaged with Vega’s plea and the

Court did not undertake an appropriate Rule 11 colloquy to

assure voluntariness under United States v. Hodge, 412 F.3d 479

(3d Cir. 2005).     In Hodge, the Third Circuit addressed a concern

about “package deal” pleas where the Government “accepts a
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defendant’s guilty plea on the condition that his co-

defendant(s) also plead guilty.”          Hodge, 412 F.3d at 490 (citing

United States v. Caro, 997 F.2d 657, 658 (9th Cir. 1993)).            The

Court of Appeals noted that “[f]amilial or fraternal coercion of

putative confederates in package deals is a serious concern” and

the court warned that “offers of leniency or adverse treatment

for some person other than the accused... might pose a greater

danger to inducing a false guilty plea by allowing the

assessment of the risks a defendant must consider.”           Id. at 489

(citations omitted).      Hodge thus required that the parties

inform the district court of the packaged pleas “to insure that

the Fed. R. Crim. P. Rule 11 colloquy is thorough and searching

as to the defendant’s knowing, intelligent, and voluntary waiver

of the right, among others, to a jury trial.”          Id. at 490.

These Hodge duties apply to prosecutor and defense attorney

alike, who must inform the Court of the packaged plea that

triggers the Court’s duty to propound the Hodge colloquy

questions, as noted above.

      Where one plea is conditioned upon another defendant’s

plea, the district court, as part of its obligations to assure a

knowing and voluntary plea, must take special care that the

precise terms of the package deal are placed upon the record,

including clarity on “how a defendant’s plea benefits his


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confederate(s).”     Id. at 491-92.     The Court of Appeals suggested

the topics of the enhanced plea colloquy.10         In the present case,

as found above, the Tutis plea was not packaged when entered on

November 1st.    No Hodge colloquy is triggered when there are not

packaged pleas.     That two spouses or family members are

negotiating pleas with the prosecutor simultaneously and enter

them on the same day does not make them “packaged”, and no

further inquiry was needed at the Rule 11 hearings of Tutis and

Vega.11

      Moreover, as discussed above, Defendant Tutis has offered

no evidence for the proposition that, if the Court had asked him

the Hodge colloquy questions, his answers would have given pause

about voluntariness or coercion.        Farrell had prepared Tutis for


10The Hodge court indicated that the additional questions that may
be helpful to ask include: “[w]ho first proposed the package deal,
how extensively defense counsel was involved in developing the
deal, and what benefit the defendant expects to gain from the
deal.” Hodge, supra, 412 F.3d at 492. The court should also ask
not only “whether the prosecutor forced, threatened or coerced the
defendant, but whether anyone did so.” Id. These constitute the
contours of the Hodge colloquy that Tutis now argues was missing.

11Furthermore, as discussed above, even if the two agreements had
congruent forfeiture provisions for various jointly-owned assets,
that speaks to terms that are identical, not one plea being
conditioned upon the other.    The defense has not argued that a
Hodge colloquy is triggered merely by similar provisions in in co-
defendants’ plea agreements, and no such authority exists. In the
Tutis and Vega final plea agreements, if only one defendant had
pled guilty, that defendant’s interest in the named properties
would be forfeited, not contingent on the other defendant’s
decision or trial outcome.
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a Hodge colloquy and even Farrell’s slippery testimony contained

no speculation that Tutis would have given indications of

involuntariness or coercion if asked.         The idea of “package

deal” had been initiated by the Government, but Tutis

undoubtedly would have acknowledged that he had received no

coercion from his wife or other family members and no threats

from the prosecutors to add charges against Vega.           He was

represented throughout the negotiations by Farrell, who was a

strong advocate and a buffer against any prosecutorial threats

or coercion.    Regarding the hypothetical answer Tutis would have

given to the question of what benefit he hoped to gain, his

answer again would be obvious – he gained, by pleading guilty, a

cap on the sentence for which the Government could advocate,

elimination of the threat of the penalty enhancement of 21

U.S.C. § 851, dismissal of most counts of the Second Superseding

Indictment, preservation of certain appellate rights, points off

the Guidelines Total Offense Conduct score due to accepting

responsibility under U.S.S.G. § 3E1.1(a), and a compromise for

forfeiture of fewer properties than the Government had charged

and seized, among other benefits.         Tutis has not even suggested

that he was “taking the rap” for Vega, nor does he suggest that

the Government has it wrong when it sees him as substantially

more culpable than Vega.


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      In short, the Defendant’s allegations that his Rule 11

hearing lacked or required Hodge colloquy for packaged pleas, or

that he would have raised his involuntariness in truthful

answers to a Hodge colloquy, are unavailing and fail to supply a

plausible reason for withdrawal of his guilty plea.

                 b.    Lack of Understanding Unpackaged Plea

      Defendant Tutis’ alternative claim that his plea should be

withdrawn because he did not understand that his plea was

unpackaged from his wife’s plea, and that he might not have

chosen to enter an unpackaged plea, fares no better.           For such a

ground to have any weight, Tutis would have to show not only

that he was ignorant of the true status of his plea as

unpackaged from Vega’s by November 1st, but more importantly that

an unpackaged plea would have been a substantial reason for

changing his decision to plead guilty.         The issues are whether

the evidence shows a reasonable probability that Tutis was

unaware that his plea was unpackaged from Vega’s, and second

whether he would not have entered his plea of guilty standing

alone, uncoupled from Vega’s plea, and would have opted to go to

trial.   First, as already discussed above, the Court does not

believe Farrell’s testimony that Farrell himself misunderstood

the pleas to be packaged, in light of all the surrounding

circumstances to the contrary and Farrell’s improper motive to


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buttress his former client’s recent emerging claim of ignorance.

Second, the November 1st statements of Tutis in his final written

plea agreement (Ex. D-14), in the Rule 11 hearing (Ex. D-16),

and in his Application for Permission to Enter Plea of Guilty

(Ex. G-8), discussed at length above, repeatedly indicated that

he had carefully read and reviewed his final plea agreement with

counsel, that he understood and accepted it, and that it was the

complete plea agreement.      He specifically acknowledged he was

not coerced to plead guilty to avoid consequences to someone

else, stating: “I hereby declare that I have not been forced,

coerced or threatened in any manner by any person to plead

GUILTY to these charge(s).       Nor have I been told that if I

refuse to plead GUILTY, other persons will be prosecuted.”

(Tutis’ Application for Permission to Enter Plea of Guilty, Ex.

G-8 at ¶ 36.)

      Tutis points to his statements from jail in the recorded

conversation with Jazmin Vega on the evening of October 31st as

suggesting that his mindset was to plead guilty only because it

would help Vega.     He would have this Court logically infer that

if the pleas were not packaged, he would have rejected the

Government’s offer.12     In fact, the Tutis/Vega conversation of


12Tutis had not yet seen the Government’s revised plea agreement
of October 31, 2016 (Ex. G-4), which made substantial concessions
to Tutis’ demands and eliminated the package plea language, because
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October 31st makes only passing reference to Tutis’ thought of

pleading to benefit Vega.       (See Ex. D-5.)    After complaining to

Vega that the Government was not acceding to his demands

regarding forfeitures, exposure to prison time, and preserving

the right to appeal, Tutis said, speaking of the stipulated

trial that was under negotiation, “I’ll take the stipulated

joint, you know what I mean, just to get you out of it, you know

what I mean, but I’m going, I’m going, man, I’m going....”            (Ex.

D-5 at 3:17-20.)     And later Tutis said: “I’m going to end it for

you tomorrow.    I’ll take a conditional joint.        I mean, not

conditional, I’ll take the stipulated joint.          The stipulated

joint give me the right to challenge all my properties, you know

what I mean?    They going to 851 me, go ahead, 851 me,” referring

to the prospect of the enhanced penalty information if he went

to trial.    (Id. at 5:1-5.)     Tutis’ predominant, recurring

interests, the ones which made him agitated to speak about,

concerned his properties, his conditional appellate rights, and

going to trial if he couldn’t preserve some of the properties

for his family’s welfare.       (Id. at 5:17 to 6:20; 7:1 to 8:25;

10:16-23.)




the Government did not send it to Farrell until 8:29 PM that night
(Ex. D-13), as discussed above.
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        Later in the conversation, Vega was explaining to Tutis

that he should not concern himself with her because she didn’t

want him to risk his rights for her benefit by fighting over the

forfeiture of the properties (“VEGA: I don’t want you to fuck

freedom over some properties .... Honestly, that’s how I feel.

I want you to come home ... [inaudible] like that,” (Ex. D-5 at

8:5-6, 14-16).     Vega explained that AUSA Carrig was commenting

to Mr. Archie, presumably about Tutis’ rejection of the plea

offer, that Carrig said “I didn’t want it to go this way or

whatever, she was like, ... she was saying something about I

didn’t want it to go this way or whatever the case may be.            She

was like trying to work something out for her or whatever,” (id.

at 9:16-21), meaning that AUSA Carrig indicated she was willing

to work out a separate plea for Vega.         This confirms testimony

of Archie and Vega about that interaction with AUSA Carrig as

the separate revised plea was being negotiated with Archie, as

discussed above.     It could not have been lost on Tutis, after

hearing this from his wife, that Vega, on the evening of October

31st, was telling him to get the best deal he could for himself

because her case was being worked out, and that she would be

okay.

        Bearing Vega’s statement in mind, on November 1st Tutis,

through Farrell, rejected the Government’s offer again and


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pressed the very points that Tutis had dwelled on with Vega, as

discussed above.     Knowing that Vega would be worked out, Farrell

and Tutis continued to press for, and achieved, a significantly

better deal for Tutis.      Moreover, other factors were at play,

pressing Tutis to make his best deal and plead guilty.            Everyone

has acknowledged the strength of the evidence Tutis would have

confronted at trial consisting of many law enforcement officers,

other eyewitnesses, and voluminous electronic surveillance

directed at him and other conspirators.         Second, the passage of

time itself was pressing him and everyone for finality in the

plea negotiations as the selected trial jury awaited.           Third, he

would not have to go to trial to preserve the right to appeal

the pretrial suppression motion decisions that he believed were

erroneous, if he could achieve a Rule 11(a)(2) conditional plea.

Fourth, going to trial risked a considerably longer mandatory

minimum sentence in the event of conviction due to the imminent

filing of the § 851 penalty enhancement information, plus

risking conviction on numerous other counts of the indictment,

including weapons offenses.       Unless Tutis was reasonably

confident that the Government could not prove its case against

him at trial, there would have been no reason to reject an

uncoupled plea and go to trial.        There is no indication in the




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record that Farrell or Tutis thought they could achieve an

acquittal at trial.

      For these reasons, the Court finds, even if Tutis was

unaware the pleas were unpackaged, that there is no prospect

that he would have decided to reject the final renegotiated

conditional plea and go to trial.         This alternative theory does

not amount to a substantial reason for withdrawing from the plea

agreement.

             3.   Whether the Government Would be Prejudiced by the
                  Withdrawal

      Prejudice to the Government, the third factor for

consideration, is a neutral value in this motion.           On the one

hand, the United States has indicated it would not be curtailed

in trying the case if the Tutis plea was withdrawn.           The

Government pointed to no witnesses who would be unavailable due

to death or infirmity.      (Gov’t Opp. Br. at 23-24 (Docket Item

448.))   AUSA Wiener retired, so a new AUSA would have to learn

this complicated case (Tr. 6/26/17 at 203), but the Government

said that if it could have sufficient time to prepare witnesses

again, acclimate a new AUSA, and focus its trial exhibit list on

Tutis, it would be ready.

      On the other hand, there is a cost to the Government in the

previous time expended by its AUSAs and case agents in preparing

for trial, selecting a jury, and negotiating Tutis’ plea
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agreements, that would be lost, much of it as wasted time and

effort of the prosecution that would have to be repeated by a

partly new trial team.      That period of intensive trial

preparation through the entry of the November 1st plea was about

one month.13

      B.    Summary of Analysis

      After careful consideration of the record, the Court has

thus found that (1) the Defendant does not assert his innocence

in any plausible way (see Part III.A.1, above); (2) the

Defendant does not present a strong reason justifying the

withdrawal of the plea (see Part III.A.2, above); and (3) the

Government would not be especially prejudiced by withdrawal of

the plea provided the prosecution team is given enough time to

prepare a second time for a new trial (see Part III.A.3, above).

In the absence of a plausible assertion of innocence and lack of

a substantial reason justifying withdrawal, the absence of

prejudice to the Government does not constitute a reason to

grant this motion under Rule 11(d)(2)(B).         Defendant has failed




13 Although this prong concerns itself with prejudice to the
Government, not to the Court, it is worth noting that the Court
also invested parallel efforts in trial preparation, summoning a
large panel of jurors, selecting jurors for two days, blocking out
four weeks for this trial from its schedule, and convening the
Tutis Rule 11 hearing. The Court cancelled the trial and excused
the jurors in reliance upon Tutis’ decision to plead guilty.
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to “show a fair and just reason for requesting the withdrawal.”

Rule 11(d)(2)(B), Fed. R. Crim. P.

IV.   CONCLUSION

      For the reasons stated above, the Court will deny Defendant

Tutis’ motion for leave to withdraw his plea of guilty under

Rule 11(d)(2)(B), Fed. R. Crim. P.        The accompanying Order is

entered.




November 13, 2018                         s/ Jerome B. Simandle
Date                                      JEROME B. SIMANDLE
                                          U.S. District Judge




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